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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

 UNITED STATES OF AMERICA

        v.
                                           Case No.: 7:21-CR-10(HL)
 RONNIE MITCHELL THIGPEN



                  ORDER GRANTING RELEASE ON CONDITIONS


      For good and sufficient cause shown to the Court, Defendant Ronnie

Mitchell Thigpen’s Unopposed Motion for Release on Conditions is hereby

GRANTED. Defendant shall be re-released on the $15,000 Unsecured Bond

executed on April 22, 2021 (Doc. 14) and shall comply with the original Order

Setting Conditions of Release (Doc. 13). In addition, the Court imposes the

following condition:



  1.) Defendant   shall   seek   medical   attention   and   attend   any   future

     appointments recommended by medical professionals.



                 8th day of JULY, 2022.
SO ORDERED, this ____



                                             s/Hugh Lawson
                                             ___________________________________
                                             HUGH LAWSON, SENIOR JUDGE
                                             UNITED STATES DISTRICT COURT
